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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

SHARON JACKSON, on behalf of herself
                               )
and all other similarly situated,
                               )
                               )
      Plaintiff,               )
                               )
vs.                            )                      Case No: 3:23-cv-00152 DPM
                               )
ARKANSAS CONTINUED CARE        )
HOSPITAL OF JONESBORO, LLC;    )
ARKANSAS CONTINUED CARE        )
HOSPITAL OF HOT SPRINGS, LLC;  )
ARKANSAS CONTINUED CARE, LLC; )
G&A PARTNERS; G&A OUTSOURCING, )
LLC; and MICHAEL COOPER,       )
                               )
      Defendants.              )

  DEFENDANTS G&A PARTNERS’ AND G&A OUTSOURCING, LLC’S NOTICE OF
                          CORRECTION

        Defendants, G&A Partners and G&A Outsourcing, LLC (“Defendants”), by and through

counsel, hereby file this Notice of Correction and state the following:

        After mailing the Notice of Removal to the Clerk’s Office on June 30, 2023, Counsel for

Defendants discovered that the date of service of the summons and complaint was listed on the

Notice of Removal as June 12, 2023, instead of the correct date of June 2, 2023. This Notice of

Correction is filed to correct the inadvertent error and substitute the correct date of service of the

summons and complaint.

        This the 3rd day of July 2023.




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                                            Respectfully Submitted,

                                            FISHER & PHILLIPS LLP

                                            /s/ Jeff Weintraub
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                                            Counsel for Defendants G & A Partners; and G & A
                                            Outsourcing, LLC




                                CERTIFICATE OF SERVICE

       This is to certify that on July 3, 2023, a copy of the foregoing was filed using the CM/ECF
system which served a copy of same upon the following:

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                                            /s/ Jeff Weintraub
                                            Jeff Weintraub




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